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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

HOWARD COHAN,

                       Plaintiff,

V.                                                     Case Number: 1:16-cv-08209

PENINSULA CHICAGO, LLC, d/b/a                          Judge Robert W. Gettleman
PENINSULA CHICAGO

                       Defendant.

                                    NOTICE OF SETTLEMENT

       Plaintiff, HOWARD COHAN, by and through undersigned counsel and pursuant to

Local Rule 16.1, hereby gives Notice that the Parties have reached an agreement for settlement,

and are in the process of finalizing the settlement documents. The Parties respectfully request

thirty (30) days to extend all pleading due dates as well as to finalize the settlement documents

and to file the proper pleadings to close this matter out.


DATED: November 14, 2016

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BY: /s/ Jason S. Weiss
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                              CERTIFICATE OF SERVICE
        I HEREBY CERTIFY that on this 14th day of November, 2016, I electronically filed the
foregoing with the Clerk of the Court by using the CM/ECF system which will send a notice of
electronic filing to all counsel of record.



                                          BY: /s/ Jason S. Weiss
                                                Jason S. Weiss
                                                Jason@j swlawyer.com
                                                Florida Bar No. 356890
